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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

SCANNING TECHNOLOGIES
INNOVATIONS LLC,

                    Plaintiff,

v.                                                    Case No: 6:21-cv-245-WWB-EJK

TECOM GROUP, INC.,

                    Defendant.


                                       ORDER

      THIS CAUSE is before the Court on Plaintiff’s Motion for Dismissal which the Court

construes as Notice of Voluntary Dismissal With Prejudice (Doc. 11). Pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(i), the Clerk of Court is directed to terminate all

pending motions and close this case.

      DONE AND ORDERED at Orlando, Florida on June 14, 2021.




Copies to:

Counsel of Record
